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  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY
  ------------------------------------------------------------------------x Case No.:
                                                                            3:24-cv-09172-MAS-RLS
  KEVIN BEASLEY and KEVIN BEASLEY
  STUDIO, LLC,

                     Plaintiffs,                                             AFFIDAVIT OF MERIT

                   -against-

  MICHAEL FANELLI,

                    Defendant.

  -----------------------------------------------------------------------x



  STATE OF NEW JERSEY                    )
                                         )    ss.
  COUNTY OF MONMOUTH                     )

            MICHAEL FANELLI, being duly sworn, deposes and says:

      1. I am the named defendant in this matter and do possess some knowledge regarding this

  lawsuit.

      2. On or about October 29, 2024, my son found a document lying at the foot of the

  driveway at my home at 1 Denise Ct., Manalapan, New Jersey. See Exhibit “1.”

      3. Prior to finding said document, I never spoke to anybody who was attempting to serve me

  with legal papers; nor was anyone at my home contacted by a process server attempting to serve

  papers.

      4. I was out of town on that date, but when I did get home, I called the attorney whose name

  was on the document, Ms. Shan (Jessica) Chen.

      5. Not having much experience with lawsuits, I asked Ms. Chen what the document was and



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  what it referred to. In response, she advised me to write a letter to the Court. At the time, I

  thought it was a bit irregular, but ultimately I did write the letter and forwarded to the Court.

  Exhibit “1.”

     6. In the letter I emphasized that, to my knowledge, I had never been properly served with

  suit papers, and further that I was unaware of the nature of this lawsuit.

     7. Later, I received in the mail a judgment against me personally. See Exhibit “2.”

     8. At this point I contacted counsel to represent me.

     9. I am advised by counsel that there is a requirement that I state a meritorious defense to

  this proceeding.

     10. By way of brief background, I believe that this action is related to a lawsuit originally

  brought in New York against myself and Bayview Auto Wreckers (hereinafter “Bayview”). In

  that matter, neither myself nor Bayview was properly served and as a result a default judgment

  was entered in that action as well. See Exhibit “3.” I am in the process of addressing that default

  judgment as well.

     11. In that New York action, Plaintiffs claimed that they had a contract with Bayview to

  partially wreck a Cadillac Escalade for use in an art installation in Manhattan. Very specifically,

  Plaintiffs refer to the agreement with Bayview and make no mention of me personally. See

  Exhibit “4,” specifically paragraph 25.

     12. In fact, while I recall someone bringing an intact vehicle for wrecking, I have no direct

  recollection of any involvement in the process, or any direct dealings with Plaintiffs.

     13. Inasmuch as any agreement and any activity undertaken in connection with that

  agreement was allegedly performed by Bayview or one of its employees, Plaintiffs have no claim

  against me personally, as I was not a party to the alleged agreement.



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